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 7
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 8

 9

10

11

12
                                     UNITED STATES DISTRICT COURT
13
                                    NORTHERN DISTRICT OF CALIFORNIA
14

15
     Craigslist, Inc., et al.                       Case No. 12-cv-03816-CRB
16                                                  (also filed in 17-cv-03301-EMC
                      Plaintiffs,                   with courtesy copy to 18-cv-00855-NC)
17
             vs.                                    DECLARATION OF JONATHAN H.
18                                                  BLAVIN IN SUPPORT OF LINKEDIN
     3taps, Inc., et al.                            CORPORATION’S MOTION TO
19                                                  CONSIDER WHETHER CASES SHOULD
                      Defendants.                   BE RELATED AND IN OPPOSITION TO
20                                                  3TAPS INC.’S MOTION TO CONSIDER
                                                    WHETHER CASES SHOULD BE
21                                                  RELATED
22                                                  Judge: Hon. Charles R. Breyer
                                                    (on the motion)
23
                                                    Trial Date:     None Set
24

25

26

27

28
                                                                            12-cv-03816-CRB
       DECLARATION OF JONATHAN H. BLAVIN IN SUPPORT OF LINKEDIN CORPORATION’S MOTION TO
                         CONSIDER WHETHER CASES SHOULD BE RELATED
      Case 3:17-cv-03301-EMC Document 98-1 Filed 02/15/18 Page 2 of 12




 1 I, Jonathan H. Blavin, declare as follows:

 2          1.      I am an attorney with the law firm Munger, Tolles & Olson LLP, counsel for

 3 plaintiffs LinkedIn Corporation (“LinkedIn”) in the above-captioned matter. I have personal

 4 knowledge of the facts stated in this declaration and, if called as a witness, could competently

 5 testify to them. I submit this declaration in support of LinkedIn’s motion to consider whether

 6 3taps, Inc. v. LinkedIn Corp., No. 18-cv-00855-NC should be related to Craigslist, Inc. v. 3taps,

 7 Inc., No. 12-cv-03816-CRB, and in opposition to 3taps’ motion to relate 3taps, Inc. v. LinkedIn

 8 Corp., No. 18-cv-00855-NC to hiQ Labs, Inc. v. LinkedIn Corp., No. 17-cv-03301-EMC.

 9          2.      Attached hereto as Exhibit A is a true and correct copy of a letter sent to me by

10 counsel for 3taps, Inc. (“3taps”) dated January 16, 2018.

11          3.      Attached hereto as Exhibit B is a is a true and correct copy of a letter sent by me to

12 counsel for 3taps dated January 24, 2018.

13          4.      Neither 3taps nor its counsel responded to my January 24, 2018 letter.

14          5.      On February 13, 2018, I asked counsel for 3taps whether it would stipulate to

15 relating this action to Craigslist. On February 14, 2018, counsel for 3taps informed me that 3taps

16 would not so stipulate, citing its position that this action is related to hiQ Labs, Inc. v. LinkedIn

17 Corp., No. 17-cv-03301-EMC. A true and correct copy of this correspondence is attached hereto

18 as Exhibit C.
19

20          I declare under penalty of perjury under the laws of the United States of America and the

21 State of California that the foregoing is true and correct.

22          Executed on February 15, 2018 at San Francisco, California.

23

24
                                                           /s/ Jonathan H. Blavin
25
                                                      JONATHAN H. BLAVIN
26

27

28
                                              -1-                           12-cv-03816-CRB
       DECLARATION OF JONATHAN H. BLAVIN IN SUPPORT OF LINKEDIN CORPORATION’S MOTION TO
                         CONSIDER WHETHER CASES SHOULD BE RELATED
Case 3:17-cv-03301-EMC Document 98-1 Filed 02/15/18 Page 3 of 12




                      Exhibit A
       Case 3:17-cv-03301-EMC Document 98-1 Filed 02/15/18 Page 4 of 12




                   THE LAW OFFICES OF THOMAS V. CHRISTOPHER
                          THE BANK OF AMERICA CENTER
                         555 CALIFORNIA STREET, STE. 4925
                             SAN FRANCISCO, CA 94104
                                   (t) 415-659-1805
                                   (f) 415-659-1950
                           Email: thomas@thomaschristopherlaw.com
                                Web: thomaschristopherlaw.com




January 16, 2018
Via United States Mail and Electronic Mail
Jonathan H. Blavin
Munger Tolles & Olsen LLP
560 Mission Street, 27th Floor
San Francisco, CA 94105

Re:   LinkedIn Corporation

Mr. Blavin,

This firm represents 3taps, Inc. (“3taps”) in connection with its business of using
automated means to acquire publicly-available data and information from publicly-
available webpages, such as the one hosted by your client LinkedIn Corporation
(“LinkedIn”). As you know, 3taps filed a brief as amicus curaie supporting the position
of hiQ Labs, Inc. (“hiQ”) in the appeal currently pending in the Ninth Circuit (No. 17-
16783).

As set forth in the responding papers on that appeal and the amicus briefs filed by 3taps,
the Electronic Frontier Foundation, and others, no reasonable reading of the Computer
Fraud and Abuse Act (“CFAA”) supports the ability of private internet operators, such as
LinkedIn, to prohibit so-called data scrapers from accessing and using publicly-available
facts and information. 3taps therefore believes, quite strongly, that Judge Chen correctly
interpreted the CFAA and that his interpretation will soon be affirmed on appeal.

Moreover, the Ninth Circuit recently held in the decision Oracle v. Rimini Street, Inc.,
2018 WL 315568, ___, F3d. ___ (9th Cir. 2018), that “taking data using a method
prohibited by the applicable terms of use, when taking itself is generally permitted, does
not violate” California’s Computer Data Access and Fraud Act. Because courts generally
treat the provisions of the California statute as coterminous with the CFAA, and because
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LinkedIn has authorized the taking of data on its site by making it publicly-available, we
do not believe that LinkedIn has any valid legal basis to prohibit companies like 3taps
from using automated means to access materials publicly-available on LinkedIn’s
webpage.

Contrary to the claims made by Craigslist in its amicus filing, 3taps does not consist of
bad actors intent on doing harm to web operators such as LinkedIn, and it does not
operate in the dark from remote offshore locations designed to defeat US jurisdiction
over its activities. Indeed, 3taps has generally been very upfront about its scraping
activities and the nature of its business practices. In the spirit of that openness, we are
writing to inform you that, in reliance on Judge Chen’s decision and the Oracle decision
cited above, 3taps intends to begin scraping publicly-available data from LinkedIn.com in
the coming weeks, and does not intend to await the outcome of the appeal before
initiating those activities. We are sending you this notice as a courtesy, and it should in
no way be interpreted as a request for permission, as Judge Chen’s opinion establishes
beyond peradventure that 3taps does not require LinkedIn’s permission to scrape and
make use of information made publicly-available on LinkedIn.com.



                                                  Very truly yours,


                                               Thomas V. Christopher
                                        The Law Offices of Thomas V. Christopher
                                               Attorneys For 3taps, Inc.
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                      Exhibit B
       Case 3:17-cv-03301-EMC Document 98-1 Filed 02/15/18 Page 7 of 12




                                         January 24, 2018


                                                                                    Writer’s Direct Contact
                                                                                        (415) 512-4011
                                                                                     (415) 644-6911 FAX
                                                                                  jonathan.blavin@mto.com
VIA EMAIL ONLY

Thomas V. Christopher
Law Offices of Thomas V. Christopher
555 California Street, Suite 4925
San Francisco, California 94104
thomas@thomaschristopherlaw.com

       Re:     3taps’ Unauthorized Access to And Scraping of LinkedIn’s Servers

Dear Mr. Christopher:

               I represent LinkedIn Corporation (“LinkedIn”). This letter responds to your letter
on behalf of 3taps, Inc. (“3taps”) dated January 16, 2018, in which you stated that 3taps intended
to commence scraping data from LinkedIn’s servers in the “coming weeks.”

               To be clear, in light of 3taps’ intention to scrape data from LinkedIn, any further
access by 3taps to the LinkedIn website and LinkedIn’s servers is without LinkedIn’s or its
members’ authorization. 3taps and its principal, Greg Kidd, are well aware of LinkedIn’s
longstanding prohibition on scraping, found in Section 8.2 of LinkedIn’s User Agreement
(https://www.linkedin.com/legal/user-agreement). 3taps agreed to this User Agreement when it
created its company page and Mr. Kidd likewise agreed to it when he became a LinkedIn
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Thomas V. Christopher
January 24, 2018
Page 2

member. 3taps has publicly stated that it has “full respect for copyright, anti-hacking, and
contract law,”1 and LinkedIn hopes 3taps will abide by its public statements.

                The legal basis upon which you state 3taps intends to begin scraping LinkedIn is
misplaced and currently under review. As you know, LinkedIn has appealed Judge Chen’s
decision in hiQ Labs, Inc. v. LinkedIn Corp. to the Ninth Circuit (No. 17-16783). As part of that
appeal, LinkedIn has asked that the Ninth Circuit consider whether Judge Chen’s interpretation
of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 (“CFAA”), was correct. As you also
know, Judge Chen’s decision directly conflicts with Judge Breyer’s decision in Craigslist Inc. v.
3Taps Inc., 964 F. Supp. 2d 1178 (N.D. Cal. 2013), which rejected 3taps’s arguments and held
that website operators could invoke the CFAA to prohibit bad actors from visiting their publicly-
available websites. While LinkedIn does not intend to consider legal action with respect to
3taps’s January 16, 2018 letter until the Ninth Circuit renders its decision, we want to be clear
that 3taps has no authorization to access the LinkedIn website and LinkedIn’s servers.

                 Further, your interpretation of the Ninth Circuit’s recent decision in Oracle USA,
Inc. v. Rimini St., Inc., No. 16-16832, 2018 WL 315568, -- F.3d -- (9th Cir. Jan. 8, 2018) is
incorrect. First, that case only concerned California Penal Code § 502 and Nev. Rev. Stat.
§ 205.4765(1). As the Ninth Circuit has explicitly noted, § 502 and the CFAA “are different,” as
the “CFAA criminalizes unauthorized access, not subsequent unauthorized use” of data, like
§ 502. United States v. Christensen, 828 F.3d 763, 789 (9th Cir. 2015). Moreover, as Rimini
Street held, the “key to the state statutes” there was “whether Rimini was authorized in the first
instance to take and use the information that it downloaded.” 2018 WL 315568, at *10. Because
Rimini “had such authorization, at least at the time it took the data in the first instance, [it] did
not violate the state statutes.” Id. By contrast here, 3taps does not have and has never had
permission to scrape LinkedIn’s servers and extract its data en masse, must circumvent
LinkedIn’s technical protection measures to do so, and unquestionably going forward is not
“authorized in the first instance” to access and scrape LinkedIn’s servers. Id.



                                                   Sincerely,

                                                   /s/ Jonathan H. Blavin
                                                   Jonathan H. Blavin




       1
          “The What and the Why of It: 3Taps’ Dispute with Craigslist,”
http://3taps.com/images/pics/430_The%20What%20and%20the%20Why%202.0.pdf.
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                      Exhibit C
               Case 3:17-cv-03301-EMC Document 98-1 Filed 02/15/18 Page 10 of 12


Fram, Nicholas

From:                             thomas christopher <Thomas@thomaschristopherlaw.com>
Sent:                             Wednesday, February 14, 2018 3:09 PM
To:                               Blavin, Jonathan
Cc:                               Fram, Nicholas
Subject:                          RE: LinkedIn/3taps



Jonathan,

I have discussed the matter with the client and they will not stipulate to relating the matter to the
Craigslist action.

Tom

From: Blavin, Jonathan [mailto:Jonathan.Blavin@mto.com]
Sent: Wednesday, February 14, 2018 1:08 PM
To: thomas christopher <Thomas@thomaschristopherlaw.com>
Cc: Fram, Nicholas <Nicholas.Fram@mto.com>
Subject: RE: LinkedIn/3taps

Tom,

You can serve us with a copy of the motion to relate. No need to serve LinkedIn’s agent.

Thank you.

From: thomas christopher [mailto:Thomas@thomaschristopherlaw.com]
Sent: Wednesday, February 14, 2018 11:56 AM
To: Blavin, Jonathan
Subject: RE: LinkedIn/3taps

Jonathan,

Thank you for the email. I will discuss with the client and get back to you.

Also, as noted we intend to file a motion to have this matter related to the hiQ matter. Since you
have not appeared as counsel of record yet in our case, I believe I should serve LinkedIn’s agent in
California. However, if you are willing to accept service on LinkedIn’s behalf of our motion, I will serve
you directly. Please let me know which you prefer.

Thank you,
Tom

From: Blavin, Jonathan [mailto:Jonathan.Blavin@mto.com]
Sent: Tuesday, February 13, 2018 3:04 PM

                                                           1
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To: thomas christopher <Thomas@thomaschristopherlaw.com>
Subject: RE: LinkedIn/3taps

Tom,

Thank you for your email. LinkedIn does not stipulate to relating the case you filed to the hiQ case. The cases do not
concern the same conduct and there are many more and different legal issues in the hiQ matter. The two cases do not
meet the criteria for relation under Civil Local Rule 3‐12(a).

LinkedIn does, however, believe that the case you filed meets the criteria for relation to N.D. Cal. No. 12‐cv‐03816, the
Craigslist case before Judge Breyer in which 3taps was a party. These two cases concern the same conduct by the same
party and the same primary legal issue—a legal issue that Judge Breyer has already analyzed extensively and which he
continues to have ongoing jurisdiction over pursuant to the parties’ consent judgment. Please let me know by 4pm on
Wednesday, February 14 whether 3taps will stipulate to relating the case you filed to the Craigslist case, No. 12‐cv‐
03816.

Thank you,
Jonathan

From: thomas christopher [mailto:Thomas@thomaschristopherlaw.com]
Sent: Monday, February 12, 2018 8:57 AM
To: Blavin, Jonathan
Subject: RE: LinkedIn/3taps

Mr. Blavin,

Thank you for the response to our letter.

Please see attached a courtesy copy of the suit 3taps recently filed against your client in the Northern
District of California. We intend to file an administrative motion to have our case related under local
rule 3‐12 to the hiQ suit before Judge Chen. The local rules require that we first ask if your client will
stipulate to relating the matters. Please let me know before 4 p.m. on Tuesday, February 13, whether
your client will so stipulate.

Thank you,
Tom

From: Blavin, Jonathan [mailto:Jonathan.Blavin@mto.com]
Sent: Wednesday, January 24, 2018 4:44 PM
To: thomas christopher <Thomas@thomaschristopherlaw.com>
Subject: RE: LinkedIn/3taps

Mr. Christopher,

Please see the attached letter sent on behalf of LinkedIn.

Thank you.

From: thomas christopher [mailto:Thomas@thomaschristopherlaw.com]
Sent: Tuesday, January 16, 2018 12:20 PM
                                                             2
              Case 3:17-cv-03301-EMC Document 98-1 Filed 02/15/18 Page 12 of 12
To: Blavin, Jonathan
Subject: LinkedIn/3taps

Please see the attached letter from counsel to 3taps regarding the scraping of LinkedIn.com.

Thomas V. Christopher
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